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            EXHIBIT N
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From:                                            Alan Epstein <aepstein@sgrvlaw.com>
Sent:                                            Sunday, December 18, 2022 12:59 PM
To:                                              Krabill, Laura E. (Phila)
Cc:                                              George M. Vinci Jr.; Michael Lloyd Charlson (mcharlson@velaw.com)
Subject:                                         FW: Norcross v. Republic Bankcorp et al



⚠ EXTERNAL
Laura,
As you are aware from my recent call with you, we will be serving as local counsel for Republic
Bancorp in this matter. While I fully understand that no decision has been made by your clients
regarding what actions they intend to take following the removal of the matter to the EDPa, I wanted to
reiterate that I can be reached at any time on my cell phone (267.357.3977) while I am on trial before the
District Court in Allentown. If you intend, as you suggested in our call, to file a motion to remand or
refile your motion for a preliminary injunction in compliance with the strictures of Judge Schiller’s
protocols, please let me know so we can jointly call Judge Schiller’s Courtroom Deputy to set up an
appropriate scheduling conference with the Judge. Please just remember that I will be on trial starting
Monday, but I am sure that I can find time during the day to coordinate that call with you.
Finally, I was not able to corral either Michael Charlson or George Vinci to get a copy of the email in
which an extension to Answer the Complaint was set. Can you please send me a copy of that email. I
am also not aware if the defendants have been served and would appreciate you letting me know that
as well.

Alan
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                                  Spector Gadon Rosen Vinci P.C.
                                  T +1 215-241-8832
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                                  E aepstein@sgrvlaw.com



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addressed herein.




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